     Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22              Page 1 of 30 PageID 12



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

EMNET SIBHAT                                      §
                                                  §
           PLAINTIFF,
                                                  §
                                                  §
v.
                                                  § CIVIL ACTION NO. _______________
                                                  §
WAL-MART STORES TEXAS, LLC
                                                  §
d/b/a/ WALMART
                                                  §
           DEFENDANT.


                INDEX OF STATE COURT PLEADINGS AND FILING DATES


     TAB                                      DOCUMENT                              DATE

      1.      State Court Docket Sheet of the County Court at Law No. 4, Dallas   09/14/2022
              County, Texas for Cause No. CC-22-04473-D

      2.      Plaintiff’s Original Petition                                       08/16/2022

      3.      Issuance of Citation                                                08/17/2022

      4.      Executed Citation                                                   08/18/2022

      5.      Letter to Counsel regarding Dismissal                               08/25/2022

      6.      Defendant’s Wal-Mart Stores Texas, LLC’s Original Answer to         09/12/2022
              Plaintiff’s Original Petition




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                    TAB NO. 1




D/1045671v1
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                    TAB NO. 2




D/1045671v1
                                                                                                                    FILED
                                                                                                        8/16/2022 12:02 PM
                                                                                                         JOHN F. WARREN
      Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                   Page 7 of 30 PageID 18           COUNTY CLERK
                                                                                                         DALLAS COUNTY

                                                   CC-22—04473-D
                                   Cause No.

EMNET SIBHAT                                       §     IN THE COUNTY COURT
        Plainttfﬁ                                  §
                                                   §
vs.                                                §     AT LAW NO.
                                                   §
WALMART STORES TEXAS, LLC.                 d/b/a   §
WALMART                                            §
        Defendant.                                 §     DALLAS COUNTY, TEXAS


                                  PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        Comes Now,     EMNET SIBHAT, Plaintiff           herein, and brings this suit for relief against

WALMART STORES TEXAS, LLC D/B/A WALMART,                             Defendant herein, and would show

unto the court as follows:

                             I.     DISCOVERY CONTROL PLAN LEVEL
        1.      Plaintiff intends to conduct discovery according to Discovery Level     1   because

Plaintiff seeks damages of less than $250,000.00.

                                     II.       PARTIES AND SERVICE
        2.      EMNET SIBHAT (“Ms. Sibhat” or “Plaintiff ’) is an individual residing in Murphy,

Texas. Plaintiff s Date of Birth is August 13, 1990. The last three digits of Plaintiff s driver’s license

number are 294.

        3.      WALMART STORES TEXAS, LLC D/B/A WALMART (“Walmart”                                     or

Defendant”) is a foreign corporation authorized to do business in Texas. Issuance of citation is

requested at this time. Defendant and may be served with process on its registered agent:

        CT Corporation System
        1999 Bryan Street, Suite 900
        Dallas, Texas 75201 -3 136.

                                          Plaintiff’s Original Petition
                          Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
                                                   Page 1 of 6
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                                III.     JURISDICTION AND VENUE

       4.      The subject matter in controversy is Within the jurisdictional limits of this court.

       5.      This court has personal jurisdiction over the Defendant because Defendant regularly

conduct business in the State of Texas. Additionally, the court has personal jurisdiction over the

Defendant pursuant to Section l7.042(2) of the Texas Civil Practices and Remedies Code because

Defendant committed a tort in the State of the Texas.

       6.      Venue is proper pursuant to Section 15.002(a)(1) of the Texas Civil Practices and

Remedies Code because all or a substantial part of the events or omissions giving rise to the claim

occurred in Dallas County, Texas.

                                              IV.

       7.      On or about September 19, 2021, Plaintiff suffered injuries on Defendant’s premises.

Ms. Sibhat was a patron, thus, an Invitee of Walmart. Walmart is a grocery store owned by

Defendant with hundreds and even thousands of stores around the country and the world. The

particular Walmart where the incident in question occurred is located at 2501 Lakeview Parkway,

Rowlett, Texas 75088.

       8.      On this date, Ms. Sibhat was in the Walmart store. Ms. Sibhat had just ﬁnished

checking out the self-checkout lane #8 and was walking towards the main aisle, towards the front

door. Ms. Sibhat suddenly slipped and fell in a puddle    of water on the ﬂoor. Ms. Sibhat went down

onto her knee and her body maneuvered almost in a split like mannerism. She also injured her pelvic

and groin area. Ms. Sibhat was able to get up on her own and went to get her husband from the car

to talk to Walmart store’s team lead,   “Lupe.” “Lupe” got the General Manager, “Coach Tyler.”

       9.      Afterwards the police and Fire Department showed up at the scene.               Walmart

completed an incident report. There were no wet ﬂoor signs on the other end to warn the public and



                                         Plaintiff’s Original Petition
                         Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
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people like Ms. Sibhat. The Defendant never inspected and dried the ﬂoor, nor put warning signs

or cones in the area to warn persons such as the Defendant, despite employees being aware     of the wet

ﬂoor, as there were multiple Walmart employees around the area where Ms. Sibhat fell causing Ms.

Sibha, to slip and fall thus sustaining injuries.

        10.     Ms. Sibhat almost immediately experienced pain. She suffered injuries and sought

medical attention for these injuries.

                                    V.      CAUSES OF ACTION

A. NEGLIGENCE AND RESPONDEAT SUPERIOR

        11.     At all relevant times herein, Defendant had such control over the premises in question

that Defendant owed certain duties to Plaintiff; the breach     of which proximately caused the injuries

set forth herein.

        12.     At all relevant times herein, Plaintiff was   an “invitee,” as classiﬁed under Texas law

at the time   of the incident in question. Plaintiff entered Defendant’s premises in question for the

mutual beneﬁt of Plaintiff and Defendant and/or for a purpose connected with the business of

Defendant. Defendant’s employees had control of the area where Plaintiff was injured.

        l3.     Defendant, Defendant’s agents, and employees failed to maintain a safe environment

for its guests by not properly inspecting the ﬂoor in the store, by not drying the ﬂoor to stop the leak

in the establishment. The ﬂoor was still wet and that was causing a dangerous condition for anybody

walking in that area, that resulted in Plaintiff s injuries and damages. If Defendant’s employee(s) had

either dried the ﬂoor in that area, inspected, or placed warning signs or cones near the wet ﬂoor,

Plaintiff’s injuries could have been avoided.




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                          Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
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        14.    At all times pertinent herein, Defendant, Defendant’s agents and employees, who were

acting in the scope of their employment, are liable to Plaintiff for their negligent conduct toward the

Plaintiff:

                   In Defendant failing to place warning cones or signs in the area to warn persons,
                   such as Plaintiff, about the wet ﬂoor and/or unnatural accumulation of similar
                   materials;
                   In Defendant failing to maintain a safe environment for its guests by not properly
                   monitoring an area of the establishment set up for customers;
                   In Defendant failing to have appropriate safety procedures for their employees and
                   agents on how to place warning signs and cones in the area to prevent the sort of
                   injuries sustained by Plaintiff;
                   In Defendant, Defendant’s employee(s) and agents failing to use due and
                   reasonable care to avoid creating the dangerous condition that caused Plaintiff
                   severe injuries and damages;
                   In Defendant, Defendant’s employee(s) and agents failing to use due and
                   reasonable care to remove the dangerous condition that caused Plaintiff severe
                   injuries and damages after it was created;
                   In Defendant failing to properly train and supervise its employees and agents to
                   identify and make safe dangerous conditions, which pose an unreasonable risk of
                   injury such as the condition that was created by Defendant’ employee(s) and
                   agent(s) who proximately caused Plaintiff’s injuries and damages;
                   In Defendant’s employee(s) and/or agent(s) failing to warn Plaintiff which
                   proximately caused Plaintiff’s injuries and damages;
                   In Defendant, through its employee(s) and/or agent(s), creating an unreasonable
                   risk of harm by creating a dangerous condition; thereby putting Defendant on
                   notice because when an owner or occupier of a premise, or those for whose conduct
                   it is responsible, creates a condition that poses an unreasonable risk of harm, an
                   inference of knowledge may arise that Defendant knew or should have known
                   about the risk of danger to Plaintiff. Keetch v. Kroger, 845 S.W.2d 262, 265 (Tex.
                   1992); Robledo v. Kroger, 597 S.W.2d 560 (Tex. Civ. App.—Eastland 1980, writ
                   ref’ d n.r.e.); See Wal—Mart Stores, Inc. v. Diaz, 109 S.W.3d 584, 589 (Tex. 2003);

               1.NEGLIGENCE
        14.    Defendant exercised control and possession of the location of the Plaintiff’s fall

occurred.

        15.    Defendant had a duty to exercise the degree of care that a reasonably prudent person

would use to avoid harm to others under similar circumstances. Defendant and their employees failed

to make safe the ﬂoor in question on the morning     of Plaintiff’ s fall by creating the subject condition


                                         Plaintiff’s Original Petition
                         Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
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and/or allowing it to persist. Thus, Defendant created an unreasonably dangerous condition and then

failed to warn or make safe the ﬂoor; the only means of ingress or egress to the area Where Plaintiff

was walking.

          16.               Defendant negligently, carelessly, or recklessly disregarded their duty, which

proximately caused Plaintiffs injuries and damages.

                            2.   RESPONDEAT SUPERIOR

          17.               At all relevant times, Defendant’ negligent employee(s) was/were acting in the scope

of her/his/their employment with Defendant. Therefore, under the principle of respondeat superior,

the masters are liable for their servant’s torts, and Defendant are liable for Plaintiff’s damages.

                                              VI.        PLAINTIFF’S DAMAGES
          18.               As   a direct and proximate result    of Defendant’s conduct, Plaintiff suffered serious

physical injuries and resulting damages, detailed below:

         A. Reasonable medical care and expenses in the past;
         B. Reasonable and necessary medical care and expenses, which will in all reasonable

                         probability be incurred in the future;
      C.D.E.F.G.H.I.J.




                         Physical pain and suffering in the past;
                         Physical pain and suffering in the future;
                         Mental anguish in the past;
                         Mental anguish in the future;
                         Loss of earnings in the past;
                 .       Physical impairment in the past;
                         Physical impairment in the future;
                         Disfigurement.
                                                             PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff                                       respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a ﬁnal hearing of the cause, judgment


                                                       Plaintiff’s Original Petition
                                       Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
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be entered for the Plaintiff against Defendant for damages in an amount within the jurisdictional limits

of the Court; together with pre-judgment interest (from         the date   of injury through the date of

judgment) at the maximum rate allowed by law; post-judgment interest at the legal rate, costs of court;

and such other and further relief to which Plaintiff may be entitled at law or in equity.

                                                Respectfully submitted,

                                                THE LAW OFFICES 0F JEREMY W. MCKEY, PLLC




                                                Jeremy W. McKey
                                                State Bar No. 2405 335 3
                                                Craig W. Thomas
                                                State Bar No. 24048047
                                                5899 Preston Road, Ste #203
                                                Frisco, Texas 75034
                                                214-855-8788 — Telephone
                                                888-638-1552 — Facsimile
                                                eserviceimckevlawfirm@ 9mail.com
                                                ATTORNEYS FOR PLAINTIFF




                                          Plaintiff’s Original Petition
                          Emnet Sibhat vs. Walmart Stores Texas, LLC d/b/a Walmart
                                                   Page 6 of 6
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                   TAB NO. 3




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                                                                                                                                               ATTORNEY
                                  THE STATE OF TEXAS                                                                                           CITATION
                                      CITATION                                                                                      PLAINTIFF'S ORIGINAL PETITION
                                    CAUSE N0. CC-22-04473—D                                                                                CC-22-04473-D
                                  COUNTY COURT AT LAW NO. 4
                                         Dallas County, Texas                                                                      IN THE COUNTY COURT 0F DALLAS
                                                                                                                                         County Court at Law No. 4
T0:                                                                                                                                      Dallas County, Texas
        WALMART STORES TEXAS, LLC D/B/A WALMART
        SERVED THROUGH REGISTERED AGENT
                                                                                                                                       EMNET SIBHAT, Plainttff(s)
        CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
                                                                                                                                                    VS.
        DALLAS TX 75201-3136
      “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                     WALMART STORES TEXAS, LLC
                                                                                                                                      D/B/A WALMART, Defendant(s)
      were served this citation and PLAINTIFF'S ORIGINAL PETITION, a default judgment may be taken against you. In
      addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of
      this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find     SERVE:
      out more at TexasLawHelporg.” Your answer should be addressed to the clerk of County Court at Law No. 4 of Dallas             WALMART STORES TEXAS, LLC
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                                 D/B/A WALMART
                                                                                                                                    SERVED THROUGH REGISTERED
                                                 EMNET SIBHAT                                                                                    AGENT
                                                     Plainttfﬂs)                                                                      CT CORPORATION SYSTEM
                                                                                                                                     1999 BRYAN STREET SUITE 900
                                                        VS.                                                                              DALLAS TX 75201-3136
                            WALMART STORES TEXAS, LLC D/B/A WALMART                                                                           ISSUED THIS
                                                    Defendant(s)                                                                      17TH DAY OF AUGUST, 2022

      ﬁled in said Court on the 16th day of August, 2022, a copy of which accompanies this citation.                               JOHN F. WARREN, COUNTY CLERK
                                                                                                                                   BY: CHANTEL CRAWFORD, DEPUTY
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 17th day of August, 2022 A.D.                                              Attorney for Plaintiff
                                                                                                                                          JEREMY W MCKEY
      JOHN F. WARREN, Dallas County Clerk                                                                                           LAW OFFICE OF JEREMY W MCKEY
                                                                               V'
                                                                                                                                                PLLC
                                                                               \5eﬁYCOﬂ
                                                                                    .4                                               5899 PRESTON  ROAD SUITE 203
                                                                                                                                            FRISCO TX 75034
       By                                               ,   Deputy                                                                             214-855-8788
               Chantel Crawford

                                                                                                                                     NO OFFIQR'S FEES HAVE BEEN
                                                                                    ER                                             mLLECFED BY DALLAS WNTY CLERK
                                                                                         RLNG
                                   Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                Page 15 of 30 PageID 26



CC-22-04473-D County Court at Law No. 4

EMNET SIBHAT vs .WALMART STORES TEXAS, LLC D/B/A WALMART

ADDRESS FOR SERVICE:
SERVED THROUGH REGISTERED AGENT
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS TX 75201-3136

Fees:
Came to hand on the day of             , 20          , at      o’clock        .m., and executed in                County, Texas by delivering to WALMART
STORES TEXAS, LLC D/B/A WALMART in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL PETITION with
the date and service at the following times and places to—wit:

Name                                                     Date/Time                       Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                            ,       Ofﬁcer

                                               Total     $                                                               ,   County, Texas

                                                                                         By:                                          9   Deputy

                                                                                                                                  ,       Afﬁant
  Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22   Page 16 of 30 PageID 27




                   TAB NO. 4




D/1045671v1
                                                                                                                                                                         Electronically Served
                                                                                                                                                                          8/17/2022 12:01 PM
                              Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                                    Page 17 of 30 PageID 28


                                                                                                                                                     ATTORNEY
                                   THE STATE OF TEXAS                                                                                                CITATION
                                       CITATION                                                                                         PLAINTIFF 'S ORIGINAL PETITION
                                     CAUSE NO. CC-22-04473-D                                          FILED
                                   COUNTY COURT AT LAW NO. 4
                                                                                                                                               CC-22-04473-D
                                                                                                   8/ 19/2022 4 08 PM
                                                                                                              3




                                        Dallas Count y’ Texas                                    JOHN F- WARREN
                                                                                                   COUNTY CLERK                         IN THE COUNTY COURT OF DALLAS
TO:                                                                                               DALLAS COUNTY                               County Court at Law No. 4
           WALMART STORES TEXAS, LLC D/B/A WALMART                                                                                              Dallas County, Texas
           SERVED THROUGH REGISTERED AGENT
           CT CORPORATION SYSTEM                                                                                                              EMNET SIBHAT, Plaintiff“)
           I999 BRYAN STREET SUITE 900
           DALLAS TX 75201-3136                                                                                                                           VS.
       You have been sued. You may employ an attorney. If you or                                                                          WALMART STORES TEXAS, LLC
                                                                      your Attorney do not ﬁle a WRITTEN ANSWER with the
       clerk who issued this citation by 10:00 A.M. on the                                                                                 D/B/A WALMART, Defendantfs)
                                                           Monday next following the expiration of twenty days aﬁer you were
       served this citation and PLAINTIFF’S ORIGINAL PETITION. a default
                                                                                judgment may be taken against you. In addition
       to ﬁling a written answer with the clerk, you
                                                     may be required to make initial disclosures to the other parties of this suit.
       These disclosures generally must be made no later than 30
                                                                                                                                      SERVE:
                                                                  days after you ﬁle your answer with the clerk. Find out more           WALMART STORES TEXAS, LLC
       at TexasLawl-Ielp.org." Your answer should be addressed to the clerk of
                                                                                 County Court at Law No. 4 of Dallas County.                    D/B/A WALMART
       Texas at the Court House of said County, 600 Commerce Street, Suite 101.
                                                                                   Dallas, Texas 75202.                                 SERVED THROUGH REGISTERED
                                                                                                                                                     AGENT
                                                   EMNET SIBHAT                                                                           CT CORPORATION SYSTEM
                                                       Plaintijﬂs)                                                                       1999 BRYAN STREET SUITE 900
                                                                                                                                             DALLAS TX 75201-3136
                                                            VS.
                             WALMART STORES TEXAS, LLC D/B/A WALMART                                                                               ISSUED THIS
                                                                                                                                           17TH DAY OF AUGUST. 2022
                                                     Defendant(s)
                                                                                                                                       JOHN F. WARREN, COUNTY CLERK
      ﬁled in said Court on the 16th day of August, 2022, a
                                                            copy of which accompanies this citation.                                   BY: CHANTEL CRAWFORD, DEPUTY
      WITNESS: JOHN F. WARREN. Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
                                                                                                                                                Attorney for Plaintiff
      HAND AND SEAL OF OFFICE, at Dallas. Texas. and issued this 17th
                                                                      day of    2022 A.D.
                                                                                      August.                                                JEREMY W MCKEY
      JOHN F. WARREN, Dallas County Clerk                                                                                              LAW OFFICE OF JEREMY W MCKEY
                                                                                                                                                   PLLC
                                                                               as“ C00                                                   5899 PRESTON ROAD SUITE 203
                                                                                                                                                FRISCO TX 75034
      By                                                ,   Deputy                                                                                214-855-8788
               Chantal Crawford
                                                                                                                                         NO OFFIGRS FEES HAVE BEN
                                                                                  ’ 3m“!                                              COLLECTED BY DALLAS GJUN'IY ClERK
                                  Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                                         Page 18 of 30 PageID 29


                                                                                            OFFICER’S RETURN
CC—22-04473-D County Court at Law No. 4

EMNET SIBHAT vs .WALMART STORES TEXAS, LLC D/B/A WALMART

ADDRESS FOR SERVICE:
SERVED THROUGH REGISTERED AGENT
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS TX 75201—3136

Fees:
Came to hand on the   8"“
                      Lday        of
STORES TEXAS. LLC D/B/A WALMA T in person
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                                                                                    i
                                                                                    this
                                                                                          00clock A" ..,m and executed in
                                                                                         Citation together with the accompanying copy of the
                                                                                                                                             County, Texas by delivering to WALMART
                                                                                                                                              PLAINTIFF' S ORIGINAL PETITION with
the date and service at the following times and places to-wit:


Name                                                     Date/Time                                              Place, Course and Distance from Courthouse

\oaltwwlr LDI’MPJY’WW‘ILO 73193110. malmodg (or Qaqﬁ'gvx rm                                                                                  lg                       2522
M    \QM Ymtw 4st 6AM Q00 Dams/Vi 7‘;@\'?2\%LQ V715
And not executed as to the defendant(s),
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                                                                                                                                                                                  if“
                                                                                                                                                                                       M‘
The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy                         $               MWBM                                     ,   Ofﬁce!”

                                               Total     $                                                       \   >4N9-93                      ,County, Texas


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                                           2011’                                 E Comm. Expires 02-01-2026
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                                                                     1,, ”nu“        Notary ID 133563213
         Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                    Page 19 of 30 PageID 30


                        Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.




Envelope ID: 67490936
Status as of 8/22/2022 11:20 AM CST
Associated Case Party: EMNET SIBHAT
Name            BarNumber   Email                             TimestampSubmitted     Status
JEREMY WMCKEY               ESERVICEJMCKEYLAWFIRM@GMAIL.COM   8/19/2022 4:08:12 PM   SENT
  Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22   Page 20 of 30 PageID 31




                   TAB NO. 5




D/1045671v1
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                                 COUNTY COURT AT LAW NO. 4
                                 GEORGE L. ALLEN, SR. COURTS BUILDING
                                   600 COMMERCE STREET, 5TH FLOOR
                                         DALLAS, TEXAS 75202
                                                    214-653-7345
Chambers of JUDGE          PAULA M. ROSALES                                        August 25, 2022


JEREMY W MCKEY
LAW OFFICE OF JEREMY W MCKEY PLLC
5899 PRESTON ROAD SUITE 203
FRISCO TX 75034

Cause No.          CC-22-04473-D
Cause Style:       EMNET SIBHAT vs.WALMART STORES TEXAS, LLC D/B/A
WALMART
Dear Attorney:

The above case is set for dismissal, pursuant to Rule 165a, Texas Ruled of Civil Procedure on:
01/09/2023 @ 9:00 AM.

If no answer has been ﬁled, or if the answer ﬁled is insufﬁcient as a matter of law to place any facts
alleged in your petition in issue, you will be expected to have moved for, and to have heard , a
summary judgment or to have proved up a default order on or prior to that date.

If an answer has been ﬁled that is sufﬁcient to create a fact issue that prevents disposition of the entire
case, or if you have been unable to obtain service of process, you should plan to appear to obtain a
reset   of the dismissal   date or a trial setting as appropriate.

In no event will live witnesses be required unless the default prove-up is for an unliquidated claim.
Liquidated claims and attorneys fees may be proved up by afﬁdavit submitted with a form of
judgment.

If you should have any questions, please feel free to call us.

                                                                 Very Truly Yours,




                                                                 PAULA M. ROSALES
                                                                 Judge Presiding
  Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22   Page 22 of 30 PageID 33




                   TAB NO. 6




D/1045671v1
                                                                                                                FILED
                                                                                                     9/12/2022 9:59 AM
                                                                                                    JOHN F. WARREN
  Case 3:22-cv-02039-G Document 1-3 Filed 09/15/22                 Page 23 of 30 PageID 34           COUNTY CLERK
                                                                                                    DALLAS COUNTY



                                  CAUSE NO. CC-22-04473-D
EMNET SIBHAT,                                    §       IN THE COUNTY COURT
        PLAINTIFF,
                                                 g
V.                                               §       AT LAW N0. 4
                                                 §
WAL-MART STORES TEXAS, LLC
                                                 g
        DEFENDANT.                               §       DALLAS COUNTY, TEXAS

                 DEFENDANT WAL-MART STORES TEXAS, LLC’S
             ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, WAL-MART STORES TEXAS, LLC (“Defendant”) in                         the above-


styled and numbered cause, and ﬁles this Original Answer to Plaintiff’s Original Petition, and in

support hereof would respectfully show the Court the following.

                                                I.
                                      GENERAL DENIAL
        l.     Defendant denies each and every, all and singular, the material allegations made

and contained in the Original Petition and any petition which Plaintiff may hereinafter ﬁle by


way of amendment or supplement, and, in accordance with Texas law, demands that Plaintiff

prove by a preponderance of the credible evidence each and every such allegation made and

contained therein, or the prevailing standard of proof required by applicable law.

                                                II.
                                 AF FIRMATIVE DEFENSES
       2.      Pleading further, and in the afﬁrmative, Defendant asserts the doctrine of

comparative causation as set forth in Chapter 33 of the TEXAS CIVIL PRACTICE         & REMEDIES

CODE, which may bar any recovery by Plaintiff, or may in the alternative reduce the amount of

recovery by Plaintiff based on the Plaintiff‘s own percentage of fault.


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        3.       Pleading further,   if   necessary, Plaintiff failed to mitigate Plaintiff’s damages

which may have resulted from the occurrence made the basis of this lawsuit.

        4.       In the alternative, and without waiving the foregoing, Defendant afﬁrmatively

pleads the defense set forth in TEXAS CIVIL PRACTICE           & REMEDIES CODE      § 18.091, requiring

Plaintiff to prove Plaintiff’s loss of earning and/or loss of earning capacity in the form which

represents   Plaintiffs net loss after reduction for income tax payments or unpaid tax liability on

said loss or earning claim pursuant to any federal income tax law. Id. Additionally, Defendant

requests the Court to instruct the jury as to whether any recovery for compensatory damages

sought by the Plaintiff,   if any, is subject to federal to state income taxes.
        5.       Additionally, to the extent Plaintiff‘s medical expenses exceed the amount

actually paid on Plaintiff’s behalf to Plaintiff‘s medical providers, Defendant asserts the statutory

defense set forth in § 41.0105    of the TEXAS CIVIL PRACTICE & REMEDIES CODE. Thus, recovery

of medical or health care expenses incurred by Plaintiff, if any,     are limited to the amount actually


paid or incurred by or on behalf of Plaintiff.

        6.       Pleading further, Defendant would show that it is entitled to a credit or offset

equal to the amount of any and all sums that the Plaintiff has received, or may hereinafter

receive, by way of settlement with any person or party. Alternatively, pursuant to Rule 48 of the

TEXAS RULES OF CIVIL PROCEDURE, Defendant contends that it is entitled to a proportionate

reduction of any damages found against it based upon the percentage of negligence attributable

to the settling tortfeasor, cross claimant, designated third party, or other party to this case.

        7.       Pleading further, and in the afﬁrmative, Defendant alleges Plaintiff’ s claims for

pre-judgment interest are limited by the dates and amounts set forth in § 304.101 of the TEXAS

FINANCE CODE and § 41.007 of the TEXAS CIVIL PRACTICE & REMEDIES CODE.



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       8.      Pleading further, and in the afﬁrmative, Defendant invokes §41.0105 of the

TEXAS CIVIL PRACTICE & REMEDIES CODE concerning Plaintiff’s claim for the recovery of health

care expenses and other related damages, past and future.

       9.      Pleading further, and in the afﬁrmative, Defendant asserts the doctrine of

proportionate responsibility of TEXAS CIVIL PRACTICE & REMEDIES CODE Chapter 33, which

may bar any recovery by Plaintiff, or may in the alternative, reduce the amount of recovery by

Plaintiff based on Plaintiff’s own percentage of fault.

        10.    Pleading further, and in the afﬁrmative, Defendant would show that the alleged

occurrence made the basis   of this lawsuit was the result of circumstances and/or events that were

not of Defendant’s own creation. Defendant would further show that it acted just as a similar

situated reasonable premises owner would have acted under the same or similar circumstances

surrounding the matters made the basis of this lawsuit.

        11.    Pleading further, and in the afﬁrmative, Defendant alleges that the injuries and

damages alleged by Plaintiff may be due to Plaintiff‘ s own negligence and recklessness in that

Plaintiff’s failure to exercise ordinary care proximately caused, in whole or in part, the alleged

injuries and damages complained of by Plaintiff. Plaintiff‘s acts and omissions, whether taken

together or separately, may be the sole proximate cause, or a proximate cause of the injuries and

damages Plaintiff has alleged in this lawsuit. Any recovery by Plaintiff is therefore barred, or

alternatively should be reduced in accordance with the applicable law.

        12.    Pleading further, and in the afﬁrmative, the injuries pled by Plaintiff may have

been caused, in whole or in part, by superseding and/or intervening causes, including preexisting

conditions and/or injuries and subsequently occurring injuries and/or conditions that were not

Defendant’s own creation.



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       13.     Pleading further,   if   necessary, Plaintiff’ s claims may have been caused by an

unavoidable accident, Act of God, or an occurrence without any fault on the part of Defendant.

       14.     Pleading further and in the alternative, Defendant alleges that any claims for or

recovery of exemplary damages against it violates the Fifth, Eighth, and Fourteenth Amendments

to the United States Constitution, and Sections 3, 13 and 19          of Article I of   the Texas


Constitution, because such claims as made are arbitrary, unreasonable, and Violate Defendant’s

rights to due process and equal protection of the laws.

       15.     Pleading further and in the alternative, to the extent any recovery of exemplary

damages is found to be constitutional, Defendant invokes all the limitations upon damages and

exemplary damages contained in Chapter 41 of the Texas Civil Practice & Remedies Code, both

in terms of the maximum amount of damages that can be awarded pursuant to that statute and the

procedural safeguards guaranteed by the referenced provisions.

       16.     Pleading further and in the alternative, Defendant also invokes all other applicable

state law, federal law, statutory and/or common-law caps or limitations on exemplary damages.

                                                 III.
                                        NOTICE OF INTENT
       l7.     Defendant further places Plaintiff on notice pursuant to TEXAS RULE OF CIVIL

PROCEDURE 193.7 that may use in pretrial proceedings or at trial any and all documents and

tangible things produced in discovery by plaintiff.

                                           IV.
                                   DEMAND FOR JURY TRIAL
       l8.     In accordance with Rule 216          of   the TEXAS RULES OF CIVIL PROCEDURE,

Defendant hereby demands a trial by jury.




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       WHEREFORE, PREMISES CONSIDERED,                    Defendant prays that Plaintiff take

nothing by this suit against Defendant, that Defendant be discharged, and that the Court grant

such other and further relief, both general and special, at law and in equity to which Defendant

may be justly entitled.

                                            Respectfully submitted,

                                            COOPER & SCULLY, P.C.

                                            By:    /s/ Derek S. Davis
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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 12th day of September, 2022, a true and correct copy of the
foregoing document was served on counsel of record via the Court’s ECF ﬁling service as
follows:

       Jeremy W. McKey
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                                                   /s/ Derek S. Davis
                                                   DEREK S. DAVIS




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Heather Savant on behalf of Derek Davis
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Envelope ID: 68143366
Status as of 9/12/2022 3:51 PM CST
Associated Case Party: EMNET SIBHAT
Name            BarNumber   Email                             TimestampSubmitted     Status
JEREMY WMCKEY               ESERVICEJMCKEYLAWFIRM@GMAIL.COM   9/12/2022 9:59:20 AM   SENT
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Heather Savant on behalf of Derek Davis
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Envelope ID: 68143366
Status as of 9/12/2022 3:51 PM CST
Associated Case Party: WALMART STORES TEXAS, LLC D/B/A WALMART
Name             BarNumber   Email                             TimestampSubmitted     Status
Heather Savant               heather.savant@cooperscuIIy.com   9/12/2022 9:59:20 AM   SENT
